Case 1:20-cv-05459-HG-MMH Document 18 Filed 03/03/21 Page 1 of 27 PageID #: 85




                               UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF NEW YORK


  JOSEPH CORSINI,                                           Case No. 1:20-cv-05459-MKB-LB

         Plaintiff,

         v.

  CITY OF NEW YORK,

         Defendant.



                           FIRST AMENDED COMPLAINT FOR
                        DECLARATORY AND INJUNCTIVE RELIEF


                                         I.   INTRODUCTION

        1.      New York City (the “City”) enforces its building and construction laws in a

 byzantine and nightmarish system that deprives property owners of the process due them under

 the U.S. Constitution. One such property owner is plaintiff Joseph Corsini (“Mr. Corsini” or

 “Plaintiff”). He brings this case to force the City to abide by fundamental constitutional

 requirements in its administrative procedures.

        2.      Like thousands of New Yorkers past and present, Mr. Corsini wanted to keep

 pigeons, and he began constructing a coop on the roof of the duplex in which he lives in Queens.

 In the end, Mr. Corsini’s pursuit of a time-honored New York City hobby left him with no

 pigeon coop and thousands of dollars in fines, in addition to fees he paid to an architect and his

 attorneys to guide him through a bureaucratic labyrinth lacking in basic procedural protections.

        3.      While he constructed his coop, a neighbor complained, and the City, through its

 Department of Buildings (DOB), fined him for constructing the coop without a permit.




                                                  1
Case 1:20-cv-05459-HG-MMH Document 18 Filed 03/03/21 Page 2 of 27 PageID #: 86




         4.      He applied for a permit with the City, but the City would not issue one.

         5.      Every day the City considered whether to issue a permit, he faced additional fines

 because, under the City’s code, each day constitutes a new violation.

         6.      He finally gave up and took the coop down. The City then fined him for not

 certifying that he took the coop down. Under the City’s code, a property owner must not just fix

 a violation, but also certify the correction by filing an affidavit that he fixed the violation. Failing

 to certify was yet another violation with yet another series of fines on top of the fines the City

 imposed for the initial violation itself.

         7.      The City issued two kinds of fines to Mr. Corsini. One set of fines could be

 challenged through the City’s Environmental Control Board/Office of Administrative Trials and

 Hearings (ECB/OATH). The other set of fines Mr. Corsini could never challenge or appeal. He

 had one option: pay.

         8.      For those fines for which the City provided an appeals process, the City

 conditioned Mr. Corsini’s ability to access this process on the payment of all fine amounts he

 owed. This significant impediment on his ability to challenge the fairness or amount of any

 citation issued to him acted to discourage and ultimately deter him from filing an appeal.

         9.      The government has a legitimate interest in ensuring that construction and

 buildings are safe. This interest may only be achieved in a manner consistent with the dictates of

 the U.S. Constitution, however. Under the Constitution, the government must provide defendants

 an opportunity to challenge erroneous determinations, have a court review the actions of the

 government, give defendants an opportunity to come into compliance with the law without

 facing additional penalties, and appeal adverse decisions without first paying significant




                                                    2
Case 1:20-cv-05459-HG-MMH Document 18 Filed 03/03/21 Page 3 of 27 PageID #: 87




 penalties. New York’s process for prosecuting violations of its building and construction laws

 does not come close to meeting these standards.

                                    II.    JURISDICTION AND VENUE

         10.    Plaintiff brings this action pursuant to 42 U.S.C. § 1983 and the Declaratory

 Judgment Act, 28 U.S.C. §§ 2201, 2202.

         11.    Accordingly, this Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 (federal

 question) and 1343 (civil rights).

         12.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because a substantial

 part of the events giving rise to the claims alleged in this Complaint have occurred in this district

 and because a substantial portion of the property that is the subject of this action is located in this

 district.

                                            III.   PARTIES

         13.    Plaintiff Joseph Corsini is a resident of the Borough of Queens, New York, New

 York. With his wife, he owns a home on 70th Street in the Maspeth neighborhood of Queens that

 is part of a duplex. From 2016 through 2017, the City subjected him to the DOB’s

 unconstitutional process and penalties.

         14.    Defendant City of New York is a municipal corporation organized under the

 constitution and laws of the State of New York.

         15.    The City’s officers and employees carry out the City’s unconstitutional and

 procedurally deficient policies and practices associated with prosecuting violations of the City’s

 building and construction codes.




                                                   3
Case 1:20-cv-05459-HG-MMH Document 18 Filed 03/03/21 Page 4 of 27 PageID #: 88




                                  IV.     FACTUAL ALLEGATIONS

                      The City’s Building and Construction Enforcement Process

        16.     The City’s administrative process for considering violations of the DOB’s codes

 and regulations is so convoluted that it is difficult for those who are not part of it to comprehend

 or navigate it without making costly mistakes.

                       The Configuration of the City’s Enforcement Machine

        17.     The DOB implements the City’s construction code (the “Construction Code”),

 which includes the City’s building code. It reviews and issues permits and licenses, inspects

 buildings, and enforces compliance with the Construction Code. See generally N.Y.C. Admin.

 Code Title 28, ch. 1-10 (Construction Code); NYC Admin. Code Title 28, ch. 7 (Building Code).

        18.     The DOB’s Administrative Enforcement Unit processes summonses and

 violations issued by the DOB’s inspection and safety and enforcement units and prosecutes these

 summons and violations in front of the City’s ECB/OATH. See generally N.Y.C. Admin. Code

 Title 28, ch. 2 (enforcement); N.Y.C. Charter ch. 45-A (OATH); N.Y.C. Charter ch. 45-A,

 § 1049-a (Environmental Control Board); 48 R.C.N.Y. §§ 1-01–7-08 (OATH).

        19.     OATH’s Hearings Division has largely subsumed the ECB’s adjudicative

 responsibilities, and ECB no longer functions as an independent entity outside of OATH. See

 New York, N.Y., Local Law No. 35 of 2008 (placing the ECB into OATH); N.Y.C. Charter ch.

 45-A, § 1049-a (“There shall be in the office of administrative trials and hearings an

 environmental control board[.]”).

        20.     OATH is the central administrative tribunal for the City. It conducts “adjudicatory

 hearings for all agencies of the city.” N.Y.C. Charter ch. 45-A, § 1048(1). It has general

 jurisdiction, and the heads of City agencies may elect to have any matter heard before OATH.

 Sherry M. Cohen and Joanna Weiss, Know Your Audience: How NYC Tribunals Have Addressed


                                                   4
Case 1:20-cv-05459-HG-MMH Document 18 Filed 03/03/21 Page 5 of 27 PageID #: 89




 Self-Represented Litigants and Increased Access to Justice, 29 J. Nat’l Ass’n Admin. L.

 Judiciary 485 (2009), available at http://digitalcommons.pepperdine.edu/naalj/vol29/iss2/3.

        21.     Many of those who appear before OATH tribunals are self-represented. Id. at 486.

                             Overview of Construction Code Violations

        22.     There are hundreds of different ways to violate the Construction Code. Violations

 are divided into three classifications: immediately hazardous (Class 1), major (Class 2), and

 lesser (Class 3). N.Y.C. Admin. Code §§ 28-201.2–201.2.3.

        23.     The classification of a violation dictates the level of penalties that apply and what

 options are available to the respondent (the person to whom a violation is issued, typically the

 property owner) for resolving any violation.

        24.      The penalties for Class 1 violations range from $1,000 to $25,000. 1 R.C.N.Y.

 § 102-01(k).

        25.     Penalty amounts are set by law, and OATH hearing officers do not have the

 discretion to alter or waive a penalty amount. 1

        26.     Unlike other violations, work without a permit—Mr. Corsini’s initial violation—

 can be deemed any class of penalty, either Class 1, 2, or 3. N.Y.C. Admin. Code § 28-105.1; 1

 R.C.N.Y. § 102-01(k).

        27.     For construction work without permit violations deemed Class 1, the initial fine is

 $2,500. 1 R.C.N.Y. § 102-01(k).

        28.     Each day a violation exists is deemed a separate and distinct offense. N.Y.C.

 Admin. Code § 28-202.2.



 1
  See OATH, Penalties, https://www1.nyc.gov/site/oath/clerks-office/penalties.page (last visited
 Nov. 6, 2020) (“Hearing Officers do not have the discretion to alter or waive a penalty amount
 because all penalties are set by law.”).


                                                    5
Case 1:20-cv-05459-HG-MMH Document 18 Filed 03/03/21 Page 6 of 27 PageID #: 90




        29.     Violations issued by the DOB can be categorized into two categories: reviewable

 violations and unreviewable violations. As the DOB phrased it, there are “two types of violations

 our inspectors issue . . . . One type of violation is heard at the [ECB/OATH]. The other can

 generally be resolved administratively by working directly with us.” N.Y.C. Buildings,

 Department of Buildings Guide to Violations 3,

 https://www1.nyc.gov/assets/buildings/pdf/violations-guide-english.pdf (last visited Nov. 6,

 2020). This Complaint refers to the former as reviewable violations and the latter as

 unreviewable violations.

        30.     Nothing in the code or rules describes a process by which an unreviewable

 violation may ever be reviewed by a neutral adjudicator, except for the DOB choosing to request

 the City’s attorney to institute legal proceedings to compel correction if the respondent does not

 comply. N.Y.C. Admin. Code § 28-219.2.1.

                                      Unreviewable Violations

        31.     The DOB issues violations that are not reviewable at ECB/OATH hearings or by

 any other neutral adjudicator.

        32.     There are dozens of different types of unreviewable violations. See N.Y.C.

 Buildings, Types of DOB Violations, https://www1.nyc.gov/site/buildings/safety/types-of-dob-

 violations.page (last visited Nov. 6, 2020).

        33.     For each of these violations, there is no process or system in place by which a

 property owner may request any review or challenge the violations or penalties imposed.

        34.     The only thing a respondent may do when they receive an unreviewable violation

 is pay the DOB. N.Y.C. Buildings, Department of Buildings Guide to Violations 3,

 https://www1.nyc.gov/assets/buildings/pdf/violations-guide-english.pdf (“Some violations that

 we issue do not require you to appear at an ECB hearing, but they may have fines you have to


                                                  6
Case 1:20-cv-05459-HG-MMH Document 18 Filed 03/03/21 Page 7 of 27 PageID #: 91




 pay. . . . You must resolve DOB violations quickly because some may accrue interest over time,

 which can substantially add to the total fine you have to pay.”).

        35.     The chart below demonstrates the path homeowners face upon receiving an

 unreviewable violation:


                                     UNREVIEWABLE VIOLATION
                                             ISSUED


                                              Pay the Fine


                                          Violation resolved



        36.     Respondents who receive an unreviewable violation must pay the DOB directly.

        37.     There is no mechanism in the City’s laws, ordinances, rules, or policies that

 requires the City to return any penalties paid pursuant to unreviewable violations even when any

 related reviewable violations have been found to be invalid or withdrawn by the City.

                                       Reviewable Violations

        38.     In addition to the unreviewable violations, the DOB also issues reviewable

 violations for which respondents are afforded an administrative hearing.

        39.     Upon discovering a code violation, the DOB issues a notice of violation, which

 initiates the enforcement process. N.Y.C. Admin. Code § 28-204.1. The notice of violation

 includes a variety of information, including (1) an ECB/OATH hearing date; (2) an order to

 correct and certify; (3) the violating conditions observed along with the infraction code, class,




                                                  7
Case 1:20-cv-05459-HG-MMH Document 18 Filed 03/03/21 Page 8 of 27 PageID #: 92




 standard penalty, maximum penalty, violation details, and remedy; and (4) instructions on the

 back for the recipient. 48 R.C.N.Y. §6-08(c). 2

          40.   The notice of violation serves three main purposes: It informs the person

 responsible for the building of the violation; acts as a summons to an ECB/OATH hearing; and

 orders the respondent to correct the violation.

                                    Order to Correct and Certify

          41.   In addition to the information described above, the notice of violation contains a

 commissioner’s order to correct the violating condition and file a certification with the DOB that

 the condition has been corrected. N.Y.C. Admin. Code § 28-204.2; see also 1 R.C.N.Y. § 102-

 01(c).

          42.   The order does not define what “correction” encompasses. None of the City’s

 rules, regulations, or ordinances define what constitutes “correction” either.

          43.   In reality, “correction” means not just physically fixing the violation but also (i)

 filing a notarized affidavit with the DOB certifying that the violation has been corrected, and (ii)

 paying any unreviewable violation civil penalties. Simply saying the violation has been corrected

 is insufficient; the DOB demands that respondents include documentary proof and swear under

 penalty of perjury that they corrected the violation. 3 Put another way, simply correcting a

 violation is insufficient to avoid penalties for the violation—the property owner must do all these

 things to come into compliance.



 2
   See also Office of Administrative Trials and Hearings, OATH Summons/Violation Template,
 https://www1.nyc.gov/assets/buildings/pdf/Construction_Summons_ENGLISH.pdf (last visited
 Nov. 6, 2020).
 3
   See N.Y.C. Buildings, AEU2: Certificate of Correction,
 https://www1.nyc.gov/assets/buildings/pdf/aeu2.pdf (last visited Nov. 6, 2020); N.Y.C.
 Buildings, Instructions: AEU2 Certificate of Correction Instructions,
 https://www1.nyc.gov/assets/buildings/pdf/aeu2ins.pdf (last visited Nov. 6, 2020).


                                                   8
Case 1:20-cv-05459-HG-MMH Document 18 Filed 03/03/21 Page 9 of 27 PageID #: 93




        44.     The only situation in which a respondent need not certify the correction to the

 DOB is if the violation is dismissed at an ECB/OATH hearing.

        45.     Corrections must be completed quickly—immediately hazardous (Class 1)

 violations must be corrected “forthwith.” 1 R.C.N.Y. § 102-01(c)(8).

        46.     Failure to correct and to certify the correction of a violation is a new violation of

 the Construction Codes that is subject to new penalties that may be imposed in addition to the

 penalties stemming from the underlying violations. N.Y.C. Admin. Code §§ 28-204.4, 28-219.1;

 1 R.C.N.Y. § 102-01(c)(9).

        47.     The penalty for failing to certify the correction of an immediately hazardous

 condition is $1,500 (for one-and-two-family homes) and no less than $3,000 up to $5,000 (for all

 other properties), payable directly to the DOB. N.Y.C. Admin. Code § 28-219.1; 1 R.C.N.Y.

 § 102-05(a).

                                  Resolving Reviewable Violations

        48.     Once the DOB issues the initial notice of violation triggering the enforcement

 process and containing a summons for an ECB/OATH hearing, the respondent has two routes

 they may take: They may either admit and fix the violation, or they may contest it at a hearing.

        49.     The chart below diagrams the options generally available, each of which are

 described in more detail in the following paragraphs:




                                                  9
Case 1:20-cv-05459-HG-MMH Document 18 Filed 03/03/21 Page 10 of 27 PageID #: 94




                                              REVIEWABLE VIOLATION
                                                     ISSUED



                    Admit to the Violation                                 Contest the Violation

                              Choose:
                                                                                 ECB/OATH
                                                                                  Hearing

                Stipulation        Admission          Mitigation
    Cure                                                                         Pay All Fines
               and Payment        and Payment        and Payment


                                                                                 ECB Appeals
                                                                                    Unit
                  Violation resolved once the
                correction is made and certified
                    and any payment made.                                         Article 78
                                                                                  Proceeding



                                 Admitting to the Notice of Violation

        50.     A respondent who wishes to admit to the notice of violation has up to four routes

 available. Three of the options enable the respondent to resolve the violation without attending a

 hearing: cure, stipulation, or simple payment. The fourth option for admitting a violation is

 mitigation, which occurs at the ECB/OATH hearing. All four require the respondent to fix the

 violation and certify the correction to the DOB.

        51.     The classification of the violation dictates which option is available in a particular

 situation. Rule 102-01(k) contains a table listing specific violations, the classification, the

 applicable resolution option(s), and the applicable penalties. See 1 R.C.N.Y. § 102-01(k).

        52.     For example, performing work without a permit in violation of section 28-105.1

 that the DOB deems a Class 1 violation draws a standard penalty of $2,500 and a maximum




                                                    10
Case 1:20-cv-05459-HG-MMH Document 18 Filed 03/03/21 Page 11 of 27 PageID #: 95




 penalty of $25,000. 1 R.C.N.Y. § 102-01(k). Neither cure nor stipulation are available resolution

 options, though mitigation is. Id.

        53.     Curing allows a respondent to fix the violation without penalty. When available,

 the respondent fixes the violating condition and certifies to the DOB that the violation has been

 corrected, at which point the penalty is eliminated. 1 R.C.N.Y. § 102-01(d)(1). This must be

 done before the scheduled ECB/OATH hearing and within 40 days from the notice of violation.

 Id. Curing operates as an admission of the violation. Id. As a result of curing, no ECB/OATH

 hearing occurs.

        54.     No Class 1 violations are eligible for cure. 1 R.C.N.Y. § 102-01(d)(1).

        55.     Stipulation allows a respondent to admit the violation and face a reduced penalty

 with an extended time to fix the violation. When available, the respondent admits to the violation

 and agrees to correct it and submit a certificate of correction. 1 R.C.N.Y. § 102-01(d)(2).

        56.     Stipulation is not available for a Class 1 violation for work without a permit.

        57.     The third option to resolve the violation is to admit to it and pay by mail or online.

 When available, no hearing is held. This option does not appear in the code or the rules but does

 appear on DOB’s guidance documents. 4

        58.     However, simple payment is not an option for hazardous violations, and a

 respondent must appear at a hearing. 5



 4
   See N.Y.C. Buildings, Resolving Violations/Summonses: OATH,
 https://www1.nyc.gov/site/buildings/business/resolving-violations-ecb.page (last visited Nov. 6,
 2020); N.Y.C. Buildings, Presentation: Resolving OATH Violations 8,
 https://www1.nyc.gov/assets/buildings/pdf/aeu_resolving_violations.pdf (last visited Nov. 6,
 2020).
 5
   See N.Y.C. Buildings, Violations – Frequently Asked Questions, No. 6,
 https://www1.nyc.gov/site/buildings/business/violation-frequently-asked-
 questions.page#violations_faq_q6 (last visited Nov. 6, 2020) (“If the violation is noted as
 hazardous or is a second offense, you must attend the scheduled hearing.”).


                                                 11
Case 1:20-cv-05459-HG-MMH Document 18 Filed 03/03/21 Page 12 of 27 PageID #: 96




         59.     A respondent who wishes to admit to the violation but has not done so before the

 ECB/OATH hearing date may still do so through mitigation, if available.

         60.     Mitigation occurs when a respondent shows at the ECB/OATH hearing that they

 (i) corrected all the violations listed in the summons, (ii) prior to the first hearing, and (iii) that

 the corrections were acceptable to the DOB. Mitigation reduces by half the penalty amount that

 otherwise would have been imposed at the hearing for the violation. 1 R.C.N.Y. § 102-01(d)(3).

 The respondent then must file a certificate of correction with the DOB. Id.

         61.     Mitigation is not automatic, and any corrections the respondent makes must be

 done pursuant to the Construction Code.

         62.     Prior to the hearing, respondents must obtain permits for any work that requires

 one before they can make the corrections required to mitigate the penalty. Many unsophisticated

 property owners do not realize this until they appear at their first hearing, at which point it is too

 late to mitigate the penalty.

         63.     The amount of time that a City agency will take to issue a permit varies.

 However, upon information and belief, Plaintiff alleges that it takes around two months for the

 DOB to issue a construction permit to respondents familiar with the City’s process. For

 unsophisticated respondents, the DOB may consider a permit for up to four-to-six months.

         64.     When a property owner receives a reviewable violation for work without a permit,

 the DOB automatically issues a separate unreviewable violation. A respondent is ineligible for a

 permit until he or she pays the unreviewable penalty for having work done without a permit,

 which is separate from any penalty imposed at the hearing. N.Y.C. Admin. Code § 28-213.3.




                                                    12
Case 1:20-cv-05459-HG-MMH Document 18 Filed 03/03/21 Page 13 of 27 PageID #: 97




        65.     During the time that a respondent waits for a permit, he or she is subject to an

 unlimited amount of failure to correct or failure to comply penalties and, depending on the

 infraction, may also accumulate daily penalties.

        66.     Failing to correct the violation is an independent violation on top of the initial

 violation. N.Y.C. Admin. Code § 28-202.2.

                                 Challenging the Notice of Violation

        67.     If the respondent wishes to contest the notice of violation for a reviewable

 violation, they must appear at the ECB/OATH hearing. At the hearing, the ECB/OATH hears

 from both the DOB and the respondent and issues a decision. 48 R.C.N.Y. § 1-51.1.

        68.     Hearings need not comply with the rules of evidence or civil practice. 48

 R.C.N.Y. § 1-46.

        69.     The DOB has the burden of proving the factual allegations by a preponderance of

 the evidence, and the notice of violation, if sworn to under oath or affirmed under penalty of

 perjury, is admitted as prima facie evidence of the facts stated in it. 48 R.C.N.Y. § 6-12(a), (b).

 In other words, although it may appear that the City bears the burden of proving the violation,

 the DOB’s notice essentially satisfies that burden, and the respondent must then prove he or she

 did not commit the violation.

        70.     After the hearing, the hearing officer issues a decision with findings of fact and

 conclusions of law; if she rules against the respondent, she imposes a penalty on the respondent.

 48 R.C.N.Y. § 6-17.

        71.     For reviewable violations, a respondent must pay all fines within 30 days of the

 decision or within 35 days of the decision if it was mailed. 48 R.C.N.Y. § 6-18.




                                                  13
Case 1:20-cv-05459-HG-MMH Document 18 Filed 03/03/21 Page 14 of 27 PageID #: 98




                               Appealing from the ECB/OATH Hearing

        72.     Parties may appeal the decision following the ECB/OATH hearing, first within

 the ECB and then to New York state courts, albeit in a limited capacity.

        73.     Either party may appeal within 30 or 35 days of the decision to the ECB/OATH’s

 Appeals Unit. 48 R.C.N.Y. § 6-19(a)(1)(i). The Appeals Unit’s review is primarily based on a

 closed record, though it will allow dispositive government records to be introduced if they

 establish a material fact or defense. 48 R.C.N.Y. § 6-19(f). The Appeals Unit determines whether

 the hearing officer’s factual findings are supported by a preponderance of the evidence in the

 record and whether the hearing officer’s determinations and penalties imposed are supported by

 law. 48 R.C.N.Y. § 6-19(g).

        74.     A respondent seeking the Appeals Unit’s review must pay the full penalties owed

 before filing an administrative appeal unless they meet one of a handful of narrow exceptions: (i)

 the respondent receives a financial hardship waiver; (ii) the respondent receives another waiver;

 (iii) the respondent opts for community service in lieu of a monetary penalty at the hearing; or

 (iv) the respondent enters into a payment plan with the DOB. 48 R.C.N.Y. § 6-19(a)(1)(iii).

 Upon information and belief, option (iii) is not available for reviewable violations in

 ECB/OATH proceedings.

        75.     A respondent seeking a hardship waiver must request it at the time of filing the

 appeal and provide evidence to support the request. 48 R.C.N.Y. § 6-19(b).

        76.     The Chief Administrative Law Judge for ECB/OATH or her designee has sole

 discretion to grant or deny a waiver due to financial hardship. 48 R.C.N.Y. § 6-19(b). There are

 no standards in any City ordinance, code provision, or rule to guide the Chief Judge or her

 designee in exercising such discretion, meaning that the decision to grant such a waiver is

 entirely subjective.


                                                 14
Case 1:20-cv-05459-HG-MMH Document 18 Filed 03/03/21 Page 15 of 27 PageID #: 99




        77.     If the Appeals Unit rules for respondent, it will order repayment of penalties that

 the respondent has paid to the government “where appropriate.” 48 R.C.N.Y. § 6-19(g)(2). There

 is no definition in any City ordinance, code provision, or rule that sets out when repayment is, or

 is not, “appropriate.”

        78.     There is no requirement that the City pay interest on any funds it repays under this

 provision.

        79.     The Appeals Unit “has the power to affirm, reverse, remand or modify the

 decision appealed from,” 48 R.C.N.Y. § 6-19(g)(1), and an appeal thus may result in greater

 penalties than the initial penalties imposed by the DOB.

        80.     Decisions from the Appeals Unit may be appealed to New York state court by

 way of Article 78 of the New York Civil Practice Law and Rules. 48 R.C.N.Y. § 6-19(g)(2).

        81.     Article 78 proceedings provide for limited judicial review of final administrative

 decisions. N.Y. C.P.L.R. § 7801.

        82.     A respondent must first seek review of the decision of the ECB/OATH Hearing

 Officer before the Appeals Unit before he or she can seek judicial review pursuant to Article 78.

 Young Men’s Christian Ass’n v. Rochester Pure Waters Dist., 37 N.Y.2d 371, 375, 372 N.Y.S.2d

 633, 636, 334 N.E.2d 586, 588 (1975) (a respondent must exhaust all possibilities of obtaining

 relief through administrative channels before appealing to the courts); Irizarry v. New York City

 Police Dep’t, 688 N.Y.S.2d 541, 543, 260 A.D.3d 269 (1st Dept. 1999) (same).

        83.     In an Article 78 proceeding, the respondent can only challenge the government’s

 application of a legislative enactment and not the constitutionality of the legislation itself. Bd. of

 Educ. of Belmont Cent. Sch. Dist. v. Gootnick, 404 N.E.2d 1318, 1319 (N.Y. 1980).




                                                   15
Case 1:20-cv-05459-HG-MMH Document 18 Filed 03/03/21 Page 16 of 27 PageID #: 100




          84.      The respondent may challenge the constitutionality of a legislative enactment by

  an action for declaratory judgment filed with the Article 78 proceeding. Price v. New York City

  Bd. of Educ., 837 N.Y.S.2d 507, 512 (N.Y. Sup. Ct. 2007).

                                          Effects of a Violation

          85.      Failing to resolve a notice of violation or attend the ECB/OATH hearing results in

  default. 48 R.C.N.Y. § 6-20(a). Without any further notice and in lieu of a hearing, ECB/OATH

  will deem all facts alleged in the summons admitted, find the respondent in violation, assess

  penalties, and mail the decision to the respondent. 48 R.C.N.Y. § 6-20(b), (d). Default penalties

  can be up to five times higher than the standard penalty. See 1 R.C.N.Y. § 102-01(k).

          86.      All notices of violation are public information and, once issued, the City places

  the information online on the Buildings Information System (BIS). 6 BIS is a database that can be

  searched by address and includes a host of information about property, such as complaints, DOB

  violations, ECB/OATH violations, certificates of occupancy, particular restrictions a property

  may face due to its location, and so on. Banks and title companies check the information when

  conducting property title searches, and open violations can prevent an owner from selling or

  refinancing. 7

          87.      The DOB will not issue new or amended certificates of occupancy when DOB

  violations are open. 8

          88.      Amounts not paid within 30 days of the date of entry are subject to interest (at the

  same rate as unpaid real property taxes). N.Y.C. Admin. Code § 28-204.6.5. All unpaid


  6
    Available at http://a810-bisweb.nyc.gov/bisweb/bispi00.jsp.
  7
    See N.Y.C. Buildings, Presentation: Resolving OATH Violations,
  https://www1.nyc.gov/site/buildings/safety/presentation-resolving-ecb-violations.page (last
  visited Nov. 6, 2020).
  8
    See N.Y.C. Buildings, Department of Buildings Violations,
  https://www1.nyc.gov/site/buildings/safety/dob-violations.page (last visited Nov. 6, 2020).


                                                    16
Case 1:20-cv-05459-HG-MMH Document 18 Filed 03/03/21 Page 17 of 27 PageID #: 101




  judgments, including any assessed interest, become liens upon the property. N.Y.C. Admin.

  Code §§ 28-204.6.2, 28-204.6.6. A narrower category of offenses become tax liens on the

  property. N.Y.C. Admin. Code § 28-204.6. The government may force the sale of the property to

  enforce its lien. N.Y.C. Admin. Code § 28-204.6.6.

         89.     Money collected by the DOB goes to the City’s General Fund, meaning that the

  more penalties the City imposes and collects directly benefits the City’s institutional interest in

  improving its financial condition.

         90.     Upon information and belief, small property owners make up a larger percentage

  of the property owners receiving notices of violations than all other kinds of respondents, such as

  large developers and owners of midtown Manhattan skyscrapers.

         91.     Upon information and belief, the City has prioritized issuing notices of violation

  to small property owners in general, and homeowners in particular, because these respondents

  are unfamiliar with the City’s complex and opaque administrative prosecution procedures, which

  often lead to respondents inadvertently accumulating additional fines.

         92.     In particular, the fact that “correcting” a violation means both fixing the cause of

  the violation and filing an affidavit with the DOB certifying that the violation was corrected

  leaves many respondents exposed to additional penalties and loss of the ability to mitigate the

  penalties the DOB has issued to them.

                                  The DOB Prosecutes Mr. Corsini

         93.     In 2016, Mr. Corsini decided that, like his father and grandfather before him, he

  wanted to have a pigeon coop on the roof of his home.

         94.     He began to construct a pigeon coop on the roof of his home.




                                                   17
Case 1:20-cv-05459-HG-MMH Document 18 Filed 03/03/21 Page 18 of 27 PageID #: 102




         95.     A neighbor complained to the DOB not because of any danger caused by the

  coop, but because the neighbor was concerned that people at the coop could see into their

  backyard.

         96.     A DOB inspector visited his property, and the DOB issued a notice of violation to

  him on September 20, 2016, of a Class 1 violation for performing work without a permit in

  violation of New York City’s Administrative Code Section 28-105.1.

         97.     The standard penalty today for a Class 1 violation for performing work without a

  permit in violation of Section 28-105.1 is $2,500 per violation.

         98.     In 2016, the standard penalty for a Class 1 violation for performing work without

  a permit in violation of Section 28-105.1 was $1,600.

         99.     Because the coop spanned both houses of the duplex, the DOB issued two notices

  of violation for the coop. Both notices were Class 1 violations of Section 28-105.1, and both

  contained summonses for ECB/OATH hearings in January 2017.

         100.    Mr. Corsini then tried to bring the coop into compliance. He hired an architect,

  who submitted a request for a permit and plans to the DOB. The DOB rejected all of Mr.

  Corsini’s attempts to bring the coop into compliance, citing, among other reasons (which the

  DOB calls “objections”), the fact that the coop did not have sprinklers. However, the DOB

  refused to specify what type of sprinkler system would meet this demand. The DOB added new

  requirements each time Mr. Corsini cured the stated DOB objection and complied with the

  DOB’s requirements.

         101.    While Mr. Corsini was working to bring his coop into compliance, the DOB

  returned to his house carrying the notice of violation pad and a pen at the ready.




                                                  18
Case 1:20-cv-05459-HG-MMH Document 18 Filed 03/03/21 Page 19 of 27 PageID #: 103




            102.   The DOB issued Mr. Corsini two violations on November 19, 2016. The first was

  a Class 2 violation for failing to comply with the commissioner’s order from the September 20,

  2016 violation and failing to file a certificate of correction, in violation of New York City’s

  Administrative Code Section 28-204.4. The other violation was a Class 1 violation for failing to

  comply with the commissioner’s order from the September 20, 2016 violation and failing to file

  a certificate of correction, in violation of Sections 28-201.1 and 28-204.4. Both contained

  summonses for hearings in January 2017.

            103.   In 2016, the standard penalty for Class 2 violations of Section 28-204.4 was $800,

  while the standard penalty for Class 1 violations of Section 28-201.1 was $2,400.

            104.   Today, the standard penalty for Class 2 violations of Section 28-204.4 is $1,250,

  while the standard penalty for Class 1 violations of Section 28-201.1 is $2,500.

            105.   Ultimately, Mr. Corsini decided to take the coop down. Putting sprinklers on the

  coop was prohibitively expensive, and he concluded it simply was not worth the continued

  hassle.

            106.   He submitted certificates of corrections for the reviewable violations, but the

  DOB initially disapproved some of them.

            107.   The two September 20, 2016 violations reflect, after an initial disapproval, that

  the DOB accepted the certificate and deemed Mr. Corsini compliant on December 19, 2017.

            108.   The remaining violations reflect, after initial disapprovals, that the DOB accepted

  the certificates and deemed Mr. Corsini compliant on February 16, 2018.

            109.   All told, the DOB issued Mr. Corsini two unreviewable violations and six

  reviewable violations with ECB/OATH hearings summonses. The unreviewable violations each

  carried $1,500 penalties. Mr. Corsini’s reviewable violations subjected him to standard penalties




                                                    19
Case 1:20-cv-05459-HG-MMH Document 18 Filed 03/03/21 Page 20 of 27 PageID #: 104




  totaling approximately $8,000. Altogether, Mr. Corsini faced approximately $11,000 in penalties

  for building a pigeon coop.

         110.    Mr. Corsini hired an attorney to help navigate the ECB/OATH system.

         111.    Represented by his attorney, Mr. Corsini was able to mitigate the penalties for the

  reviewable violations at ECB/OATH. Ultimately, the City issued a written decision demanding

  that he pay an $800 penalty per reviewable violation, for a total of $4,800.

         112.    New York law ostensibly gave Mr. Corsini the option to appeal his reviewable

  violations to the ECB Appeals Unit and then in an Article 78 proceeding. Had Mr. Corsini

  contested the reviewable violations at the ECB/OATH hearings and lost, however, he would

  have faced a penalty for the reviewable violations of approximately $8,000—or more if the

  Appeals Unit modified the penalty by increasing it. This would be in addition to the $3,000 in

  unreviewable violation penalties the City required him to pay without an opportunity to

  challenge them.

         113.    Mr. Corsini did not appeal the violations, however, because, in part, he would

  have first had to pay the entire amount of the reviewable penalties before his appeal would be

  considered and because an appeal could expose him to greater penalties than those already

  imposed by the DOB.

         114.    The City’s rules also ostensibly gave Mr. Corsini the option to request that the

  Appeals Unit waive the prior payment requirement under the hardship exception in 48 R.C.N.Y.

  § 6-19(b). Mr. Corsini believes this would have been futile in his case because, while he is not

  wealthy, he is also not impoverished. Moreover, given the lack of guidance as to what constitutes

  “financial hardship,” and the fact that the determination of whether this waiver should be granted




                                                  20
Case 1:20-cv-05459-HG-MMH Document 18 Filed 03/03/21 Page 21 of 27 PageID #: 105




  lies entirely in the subjective decision of a single administrative law judge, such an effort would

  have been a waste of further time and money.

         115.    Mr. Corsini thus found himself in the dilemma faced by many middle-class

  respondents in administrative proceedings—not rich enough to bear the entire penalty without

  real financial pain, but not poor enough to qualify for a hardship exception.

         116.    Upon information and belief, Mr. Corsini did not believe he qualified for a waiver

  of his penalties pursuant to 48 R.C.N.Y. § 6-19(a)(1)(iii)(B).

         117.    Mr. Corsini could not participate in community service in lieu of the monetary

  penalty pursuant to 48 R.C.N.Y. § 6-19(a)(1)(iii)(C) because that option was not available to

  him.

         118.    The payment plan set out in 48 R.C.N.Y. § 6-19(a)(1)(iii)(D) requires the

  respondent to pay the entire fee amount, albeit in installments. This option thus required him to

  pay the full amount of the fees as a condition on his ability to appeal.

         119.    Rather than pay the full amount and appeal and expose himself to even greater

  penalties, Mr. Corsini instead paid the mitigation-reduced penalty amounts. Put another way, Mr.

  Corsini was able to reduce his penalties by $3,200 by foregoing his right to appeal.

         120.    But for the requirement to pay his entire fee amount prior to appealing, he would

  have appealed the Hearing Officer’s decision to the ECB/OATH Appeals Unit.

         121.    Even if Mr. Corsini had appealed, he would not have been able to challenge the

  constitutionality of the process he faced.

         122.    There are changes Mr. Corsini would like to make to his home. Considering the

  DOB’s enforcement practices, however, there is a substantial likelihood that were he to make

  those changes, he would become subject to the DOB’s unconstitutional processes again.




                                                   21
Case 1:20-cv-05459-HG-MMH Document 18 Filed 03/03/21 Page 22 of 27 PageID #: 106




         123.    Mr. Corsini has well-established and fundamental property rights in his home and

  his earnings, income, and capital.

         124.    The City interfered with and deprived Mr. Corsini of these rights by, among other

  things, issuing unreviewable violations to him that he could not contest, appeal, or have reviewed

  by a court of competent jurisdiction and leaving him with only the option to pay or default; not

  providing any mechanism or requirement that the City refund fines paid pursuant to

  unreviewable violations; failing to provide a forum for consideration of the reviewable violations

  that followed New York’s rules of evidence or civil practice, or similar rules and procedures;

  conditioning his ability to obtain administrative review of the reviewable violations on the full

  payment of the fines the City imposed on him; exposing him to greater penalties if he did appeal;

  conditioning his ability to obtain judicial review of his reviewable penalties on his exhaustion of

  administrative remedies which themselves were conditioned on the full payment of the fines the

  City imposed on him; failing to provide a forum for the consideration of constitutional questions

  and an avenue for meaningful appellate review; fining him while he sought a permit from the

  City; continuing to issue multiple notices of violation for a single condition; seeking to maximize

  fines when these fines benefit the City by directly increasing the City’s general treasury; and

  failing to provide adequate notice of what was necessary to come into compliance, which led him

  to accumulate multiple additional penalties.

         125.    The City’s process risks erroneous deprivation of the rights of Mr. Corsini and all

  property owners in New York City.

         126.    The City could correct some of these problems by adding additional safeguards,

  among other things, subjecting every violation to review by a neutral arbiter; demanding that the

  hearings comport with New York’s rules of evidence or civil practice; providing an avenue for




                                                  22
Case 1:20-cv-05459-HG-MMH Document 18 Filed 03/03/21 Page 23 of 27 PageID #: 107




  meaningful appellate review that need not be preceded by payment in full of penalties assessed;

  stopping or limiting the practice of imposing multiple fines on property owners for the same

  violation; and many others.

         127.    The City’s deprivations of Mr. Corsini’s rights were done without the process due

  him under the Fourteenth Amendment to the U.S. Constitution.

         128.    The actions and practices described in this Complaint are pervasive in New York

  City and affect hundreds, if not thousands, of New York City residents. Plaintiff therefore

  expressly reserves the right to amend this Complaint to add additional plaintiffs and causes of

  action, including allegations that the City’s actions have caused harm to others similarly situated

  to Mr. Corsini and to seek to certify a class of such individuals harmed by the City.

                                       V.     CAUSE OF ACTION

         Violation of Plaintiff’s rights under the Due Process Clause of the Fourteenth
                Amendment to the U.S. Constitution via 42 U.S.C. § 1983

         129.    Plaintiff incorporates by reference the preceding allegations of this Complaint.

         130.    The City, acting under color of law, caused Plaintiff to be deprived of his property

  without due process of law in violation of the Due Process Clause of the Fourteenth Amendment

  of the Constitution.

         131.    The Due Process Clause of the Fourteenth Amendment to the U.S. Constitution

  requires that, before a person may be deprived of his or her property, the person be provided

  notice and an opportunity to be heard at a meaningful time and in a meaningful manner.

         132.    The City had a duty under the Fourteenth Amendment to the U.S. Constitution to

  provide Mr. Corsini with notice and a meaningful opportunity to be heard prior to depriving him

  of his property and to conduct the City’s administrative processes in accordance with due

  process.



                                                  23
Case 1:20-cv-05459-HG-MMH Document 18 Filed 03/03/21 Page 24 of 27 PageID #: 108




         133.    The City violated its duty to ensure due process by denying Mr. Corsini a fair or

  meaningful opportunity to be heard, thereby creating an unreasonable risk of erroneous

  deprivation.

         134.    By requiring full prepayment of a fine associated with a reviewable violation to

  access an administrative appeal and then judicial review, the City effected a pre-hearing

  deprivation of Plaintiff and denied due process to him.

         135.    Plaintiff possessed a fundamental property interest protected by the Fourteenth

  Amendment to the U.S. Constitution, in his home, earnings, income, and capital.

         136.    This interest is one of historical and continuing importance.

         137.    Defendants interfered with this interest possessed by Mr. Corsini by, among other

  things, (i) issuing unreviewable violations to him that he could not contest, appeal, or have

  reviewed by a court of competent jurisdiction and leaving him with only the option to pay or

  default; (ii) failing to mandate the City’s return of any fines collected pursuant to unreviewable

  violations; (iii) failing to provide a forum for consideration of the reviewable violations that

  followed New York’s rules of evidence or civil practice, or similar rules and procedures; (iv)

  failing to provide a forum for the consideration of constitutional questions and an avenue for

  meaningful appellate review; (v) fining him while he sought a permit from the City; (vi)

  continuing to issue multiple notices of violation for a single condition; (vii) seeking to maximize

  fines when these fines benefit the City by directly increasing the City’s general treasury; (viii)

  conditioning his ability to access both administrative appeals and judicial review on the payment

  of all fines assessed against him; (ix) failing to provide adequate notice of what was necessary to

  come into compliance, which led him to accumulate multiple additional penalties; and (x)

  otherwise failing to provide process that guarded against the risk of erroneous deprivation.




                                                   24
Case 1:20-cv-05459-HG-MMH Document 18 Filed 03/03/21 Page 25 of 27 PageID #: 109




          138.      In so doing, this deprived Mr. Corsini of the process due to him under the

  Fourteenth Amendment to the U.S. Constitution.

          139.      The City also violated its duty to provide due process by enforcing, collecting,

  and retaining fines issued to Mr. Corsini without due process.

          140.      The City had the ability to provide due process to Mr. Corsini in conformity with

  the Fourteenth Amendment.

          141.      The City’s governmental interests cannot justify the violation of Mr. Corsini’s due

  process rights.

          142.      The burden of providing sufficient process to Mr. Corsini did not outweigh his

  interest in a fair, open, and accurate process.

          143.      Any appellate review available to Plaintiff was constitutionally deficient and

  cannot compensate for or cure the lack of meaningful pre-deprivation process.

          144.      The City’s behavior was arbitrary and shocking to the conscience and was so

  brutal and offensive as to not comport with traditional ideas of fair play and decency.

          145.      The City had no legitimate governmental interest in depriving Mr. Corsini of his

  property without due process.

          146.      The City’s failure to provide sufficient process to Mr. Corsini was conducted

  pursuant to a policy, practice, or custom that violated the Fourteenth Amendment to the U.S.

  Constitution.

          147.      The City has acted under color of state law in violating Mr. Corsini’s rights

  pursuant to the Fourteenth Amendment to the U.S. Constitution.

          148.      As a direct and proximate result of the City’s actions, Mr. Corsini suffered

  irreparable injury to his constitutional rights.




                                                     25
Case 1:20-cv-05459-HG-MMH Document 18 Filed 03/03/21 Page 26 of 27 PageID #: 110




         149.    The City could have provided additional safeguards to its process that would have

  reduced the due process violations it imposed on Mr. Corsini.

                                      VI.     PRAYER FOR RELIEF

         150.    WHEREFORE, Plaintiff prays for relief as follows:

         151.    For a declaration that the City’s systemic policies, practices, and customs, on their

  face and as applied to Mr. Corsini, violated the Due Process Clause of the Fourteenth

  Amendment to the U.S. Constitution;

         152.    For an order enjoining the application and enforcement of the practices described

  in this Complaint as a violation of due process;

         153.    For an injunction in favor of Mr. Corsini requiring the City to provide restitution,

  with interest, to Mr. Corsini for all penalties, fines, and fees issued pursuant to constitutionally

  deficient procedures;

         154.    For an award of $1 in nominal damages for the due process violations described

  in this Complaint;

         155.    For an award of attorneys’ fees and costs under 42 U.S.C. § 1988 and any other

  applicable statute or rule, or in equity; and

         156.    For such other and further relief as this Court may deem just and proper.




                                                     26
Case 1:20-cv-05459-HG-MMH Document 18 Filed 03/03/21 Page 27 of 27 PageID #: 111




       DATED: March 3, 2021

                         Respectfully Submitted,

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                                           27
